           2:18-cv-02249-CSB-EIL # 29          Page 1 of 2                                                  E-FILED
                                                          Tuesday, 07213.1415
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                                                                              GJM/NHK
                             UNITED STATES DISTRICT COURT      Clerk, U.S. District Court, ILCD
                             CENTRAL DISTRICT OF ILLINOIS

JANE DOE, as Parent and Next Friend of          )
K.B., A Minor,                                  )
                                                )
                               Plaintiff,       )
                                                )
v.                                              )               No. 2:18-cv-02249
                                                )
URBAN SCHOOL DISTRICT #116, a Unit of           )
Local Government; Scott Woods, Individually and )
in his Official Capacity as Principal of Urbana )
Middle School,; Donald D. Owen, Ed.D. as        )
Superintendent of URBANA SCHOOL DISTRICT )
#116, in his Official Capacity; and THE URBANA )
SCHOOL DISTRICT #116 BOARD OF                   )
EDUCATION, in Their Official Capacities.        )
                                                )
                               Defendants.      )

                                  CERTIFICATE OF SERVICE
        I, Natalie H. Koepke, hereby certify that this Certificate of Service and the attached
documents:
     • DEFENDANT DONALD D. OWEN, ED.D.’S INTERROGATORIES TO PLAINTIFF
     • DEFENDANT DONALD D. OWEN, ED.D.’S REQUESTS FOR PRODUCTION TO
        PLAINTIFF
were served upon the attorneys of record as listed below by sending a true and correct copy of same
via electronic mail (e-mail) to the addresses provided on May 7, 2019. A copy of this notice has
been electronically filed with the Clerk of the Court for the U.S. District-Central District of Illinois,
using the Court’s CM/ECF System, which will send notification and a copy of such filing to all
parties of record via email. Non CM/ECF participants will receive a true and correct copy of such
filing via U.S. First Class Mail.

                                                        LEWIS BRISBOIS BISGAARD & SMITH LLP

                                                        /s/ Natalie H. Koepke
                                                        One of the Attorneys for Donald D. Owen,
                                                        Ed.D., in his capacity as Superintendent of
                                                        Urbana School District # 116
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